Case 1:17-cv-01547-CCC Document 1-1 Filed 08/29/17 Page 1 of 1
1844 <Rev~ 06/17> CIVIL COVER SHEET

`I`hc JS 44 civil cover sheet and the int`ormalion contained herein'n_el'ther rc_place nor supplement the file and service Of` pleadings or other papers as required by law, except as
provided b focal rules of_court. Thls i`crm. approved by the Judrclal Conference of the Unltcd Slnt<:s m cpteinber 1974, ls required for the use of the C|crk of Court for the
purpose 0 initiating thc clvil docket shect. (SEE INSTRUCTIONS 0N NEXTPAGE OF THIS FORM)

 

I. (a) PLAINTIFFS DEFENDANTS
Darrin Neuer Thomas J. Arthur and Bi||man Trucking, |nc.
(b) County ofResidence ofFirst Listed Plaintift` LOS Angele$ COUnty County of Residence ofFirst Listed Defendant Bpi_ey_(_indiana_i
(EXCEPT]N U.S. PLAINT[FF CASES) ([N U.S. PLA/NT/FF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
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Thomas A. Arc er; Mette, Evans an Wc)oc!side John M. Campbe||/|\/|ichae| F. Kernoschak, Yost & Tretta, LLP
3401 North Front St., P.O. Box 5950 TWo Penn Center P|aza, Ste. 610, 1500 JFK B|vd.
Harrisburg, PA 17110;717-231-5235 Phi|ade|phia, PA 19101, 215-972-6600
II. BASIS OF JURISDICTION (Place an "X" in One Bax On/y) III. CITIZENSHIP OF PRINCIPAL PARTIES (P/ace an “X" in One Boxfor Plain/r`ff
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ofBusiness In This State
13 2 U.S_ Govemment d 4 Diversity Citizen of AnotherState ij 2 121 2 [ncorporated and Principal Place Cl 5 13 5
Defendant ([ndicale Cilizenship ofParties fn l/em III) ofBusiness In Another State
Citizen or Subjec¢ ofa \J 3 13 3 Foreign Nation lJ 6 \j 6
I-`nrr:iE._u Connuy
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111 130 Miller Act ij 315 Ailplane Product Product Liabiiity IJ 690 Other 28 USC 157 3729(3))
13 140 Negotiable Instrument Liability \j 367 Health Care/ D 400 State Reapportionment
ij 150 Recovery ovaerpayment |:l 320 Assault, Libei & Phamlaceutical ___P_BQEE_B]‘_'LM___ L`_l 410 Antitrust
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Cl 196 Franchise Injury I:l 385 Property Damage U 740 Railway Labor Act |J 865 RSI (405(g)) U 891 Agricu|tural Acts
Cl 362 Personal injury - Product Liability El 751 Family and Medical Cl 893 Environmental Matters
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ij 220 Foreclosur'e I:l 441 Voting D 463 Alien Detainee Incolne Security Act or Defendant) IJ 899 Admim'strative Procedure
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|:l 245 Tozt Product Liability Accommodations |:l 530 General Cl 950 Constitutionality of
El 290 Al| Other Real Property l:l 445 Amer. w/Disabiliries - Cl 535 Death Penalty IMEI_IGRA`I'ION State Statutes
Employment Other: Ij 462 Naturalization Application
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28 U.S.C.SBCinnS1332, 1441 and 1446

Bricf description ofcause:

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN 5 CHECK IF THIS ls A CLASS ACTION DEMAND $ CHECK YES Only if demanded in COmPlainff
COMPLAINT: UNDER RULE 23, F.R.CV.P. JURY DEMAND; 1a Yes gNo
VIII. RELATED CASE(S)
IF ANY (See insirucll`ons): JUDGE DOCKET NUMBER

 

 

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